Filed 10/08/19                          Case 19-21640                               Doc 135



                               UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF CALIFORNIA
                                        CIVIL MINUTES
            _____________________________________________________________________
            Case Title: Debora Leigh Miller-      Case No.: 19-21640 - B - 11
            Zuranich
                                                  Docket Control No. WW-2
                                                  Date: 10/08/2019
                                                  Time: 2:00 PM

            Matter: [118] - Motion/Application to Dismiss Case [WW-2] Filed by
            Creditor OCRE Investment Fund 1 LLC (mfrs) [118] - Motion/Application
            to Reconvert Case from Chapter 11 to Chapter 7 [WW-2] Filed by
            Creditor OCRE Investment Fund 1 LLC (Fee Paid $15) (eFilingID:
            6589734) (mfrs)

            Judge: Christopher D. Jaime
            Courtroom Deputy: Danielle Mobley
            Reporter: Electronic Record
            Department: B
            _____________________________________________________________________
            APPEARANCES for:
            Movant(s):
            Creditor's Attorney - Jonathan C. Cahill
            Respondent(s):
            (by phone) Creditor's Attorney - Dean T. Kirby Jr.; Debtor's Attorney
           - Lauro Faliceano
            _____________________________________________________________________
                                        CIVIL MINUTES


           Motion to dismiss Denied as moot, Motion to reconvert case Granted
           Findings of fact and conclusions of law stated orally on the record
                 The court will issue an order.
